         Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 1 of 53




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

RATIO CHRISTI OF KENNESAW
STATE UNIVERSITY and ZACHARY
BOHANNON,
                                                 Case No. 1:18-cv-745-MLB
Plaintiffs,

v.

SAMUEL S. OLENS, Former President
of Kennesaw State University, in his
individual capacity; et al.,

              Defendants.


                            ANSWER AND DEFENSES

       Defendants, through counsel, submit this Answer and Defenses to Plaintiffs’

Complaint (Doc. 1), as follows:

                                  FIRST DEFENSE

       The Complaint fails to state a claim upon which relief may be granted.

                              SECOND DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, by the Eleventh

Amendment and the doctrine of sovereign immunity.
       Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 2 of 53




                                THIRD DEFENSE

      Plaintiffs’ claims are barred, in whole or in part, on the basis that an

individual defendant sued in his or her official capacity is not a “person” subject to

suit under 42 U.S.C. § 1983.

                               FOURTH DEFENSE

      Plaintiffs’ claims are barred, in whole or in part, by the doctrine of qualified

immunity.

                                 FIFTH DEFENSE

      Plaintiffs’ claims fail, in whole or in part, because Defendants have not

denied them any rights, privileges, or immunities secured by the Constitution or

laws of the United States.

                                 SIXTH DEFENSE

      Plaintiffs are not entitled to the monetary or equitable relief they seek

because they have not suffered a violation of a Federal right.

                               SEVENTH DEFENSE

      Plaintiffs’ claims are barred, in whole or in part, by the statute of limitations.




                                           2
        Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 3 of 53




      Defendants reserve the right to raise any other defenses allowed by law at

such time as Plaintiffs’ claims or contentions are more particularly identified in

this case.

                                  RESPONSES

      Answering the specific enumerated allegations of the Complaint, Defendants

state as follows:

                                INTRODUCTION

      1.     Defendants deny that officials at Kennesaw State University (KSU)

“seek to silence or restrict those who express ideas to which they object, using a

myriad of different university policies to effectuate this censorship.” The

remainder of this paragraph consists of opinions and/or legal conclusions to which

no response is required. To the extent a response is required, Defendants deny the

allegations in this paragraph and deny that they violated any of Plaintiffs’ rights

under the Constitution or laws of the United States.

      2.     Defendants admit that Ratio Christi of KSU submitted requests to

reserve, and did reserve, Campus Green space at KSU in 2016 and 2017 for

expressive activities. Defendants admit further that numerous student organizations

reserve and use Campus Green space at KSU for expressive activities. Defendants

are without knowledge or information sufficient to form a belief as to the truth of


                                         3
       Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 4 of 53




allegations regarding the subjective intentions of Ratio Christi in making such

reservations and, therefore, deny the same. Defendants deny the remaining

allegations in this paragraph.

      3.     Defendants admit that KSU’s Registered Student Organization (RSO)

Manual 2017-2018 provides that only entities affiliated with KSU, including RSOs

and KSU employees, can reserve space on campus via KSU’s reservation system,

referred to as the Virtual Event Management System, or VEMS. Defendants admit

further that provisions pertaining to space reservation requests contain different

deadlines for submission, depending on the scope of event the RSO intends to

hold. Defendants deny the remaining allegations in this paragraph, including any

allegation that they violated any of Plaintiffs’ rights under the Constitution or laws

of the United States.

      4.     Defendants deny the allegations in this paragraph.

      5.     The allegations in this paragraph purport to state the legal basis for

Plaintiffs’ claims and do not require a response. To the extent that a response is

required, Defendants deny the allegations.




                                          4
       Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 5 of 53




                          JURISDICTION AND VENUE

      6.     The allegations in this paragraph purport to state the legal basis for

Plaintiffs’ claims and do not require a response. To the extent that a response is

required, Defendants deny the allegations.

      7.     Defendants admit the allegations in this paragraph.

      8.     The allegations in this paragraph purport to state the legal basis for

Plaintiffs’ claims and do not require a response. To the extent a response is

required, Defendants deny the allegations.

      9.     Defendants admit the allegations in this paragraph.

                                   PLAINTIFFS

      10.    Defendants admit, based on information and belief, that Plaintiff

Zachary Bohannon was enrolled as a full-time student at Kennesaw State

University (“KSU”) as of the filing of the complaint. Defendants deny any

remaining allegations in this paragraph.

      11.    Defendants admit, based on information and belief, that Plaintiff

Zachary Bohannon transferred to KSU in the fall of 2016 and remained a student at

KSU up to the time of the filing of the complaint. Defendants deny any remaining

allegations in this paragraph.




                                           5
       Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 6 of 53




      12.    Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, the

allegations are denied.

      13.    Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, the

allegations are denied.

      14.    Defendants admit the allegation in this paragraph.

      15.    Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, the

allegations are denied.

      16.    Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, the

allegations are denied.

      17.    Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, the

allegations are denied.

      18.    Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, the

allegations are denied.


                                         6
       Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 7 of 53




      19.    Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, the

allegations are denied.

      20.    Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, the

allegations are denied.

      21.    The allegations in this paragraph amount to legal conclusions and thus

do not require a response. To the extent that a response is required, Defendants

deny the allegations.

      22.    This allegation purports to state the legal capacity in which Plaintiff

Ratio Christi brings this lawsuit and does not require a response. To the extent that

a response is required, Defendants deny the allegation.

                                  DEFENDANTS

      23.    Defendants admit that defendant Samuel Olens was President of KSU

from on or about November 1, 2016, to on or about February 14, 2018. Defendants

deny any remaining allegations in this paragraph.

      24.    Defendants deny the allegations in this paragraph as written.

Defendants respond further that Ken Harmon held the position of Interim President




                                         7
       Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 8 of 53




of KSU at the time the complaint in this action was filed but no longer holds such

position.

      25.    Defendants admit the allegation in this paragraph.

      26.    Defendants admit that, when serving as president of KSU, defendant

Olens had responsibilities and authority consistent with such position, including

some executive and administrative authority, and, when serving as interim

president of KSU, defendant Harmon had responsibilities and authority consistent

with such position, including some executive and administrative authority.

Defendants deny any remaining allegations in this paragraph.

      27.    Defendants deny the allegations in this paragraph as written.

Defendants respond further that, when serving as president of KSU, defendant

Olens was responsible for fulfilling the duties of such position and, when serving

as interim president of KSU, defendant Harmon was responsible for fulfilling the

duties of such position.

      28.    Defendants admit that, when serving as president of KSU, defendant

Olens’ duties included general oversight of the operation and management of KSU

and, as when serving as interim president of KSU, defendant Harmon’s duties

included general oversight of the operation and management of KSU. Defendants

deny any remaining allegations in this paragraph.


                                         8
       Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 9 of 53




      29.   Defendants admit that, when defendant Olens served as president of

KSU, he had authority to oversee defendant Milsteen and defendant White.

Defendants admit further that, when serving as interim president of KSU,

defendant Harmon had authority to oversee defendant White. Defendants deny any

remaining allegations in this paragraph.

      30.   Defendants admit that, while president of KSU, defendant Olens had

some authority over policies concerning students at KSU and that, when serving as

interim president, defendant Harmon had some such authority. Defendants deny

any remaining allegations in this paragraph.

      31.   Defendants admit that, while president of KSU, defendant Olens had

some authority over policies concerning student expression on campus and that,

when serving as interim president, defendant Harmon had some such authority.

Defendants deny any remaining allegations in this paragraph.

      32.   Defendants deny the allegations in this paragraph.

      33.   Defendants admit that, while president of KSU, defendant Olens had

responsibilities and duties consistent with such office, including authority to

review, approve, or reject some decisions of KSU officials. Defendants admit

further that, while interim president of KSU, defendant Harmon had

responsibilities and duties consistent with such office, including authority to


                                           9
       Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 10 of 53




review, approve, or reject some decisions of KSU officials. Defendants deny the

remaining allegations in this paragraph.

      34.    Defendants deny the allegations in this paragraph.

      35.    Defendants deny the allegations in this paragraph.

      36.    Defendants admit that defendant Milsteen was Chief Legal Affairs

Officer at KSU at times relevant to this complaint. Defendants deny the remaining

allegations in this paragraph.

      37.    Defendants deny the allegations in this paragraph.

      38.    Defendants deny the allegations in this paragraph.

      39.    Defendants deny the allegations in this paragraph.

      40.    Defendants admit that defendant Kathleen White is Vice President for

Student Affairs at KSU and has held that position since on or about July 1, 2015.

Defendants deny any remaining allegations in this paragraph.

      41.    Defendants admit that defendants Sanseviro, Lunk, Bonza, Harvill,

Clark, Millwood, Malone, and Patti hold or held positions with KSU’s Division of

Student Affairs and that defendant White is Vice President for Student Affairs at

KSU. Defendants deny any remaining allegations in this paragraph.

      42.    Defendants deny the allegations in this paragraph.

      43.    Defendants deny the allegations in this paragraph.


                                           10
       Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 11 of 53




      44.    Defendants admit that defendant Michael Sanseviro is Associate Vice

President and Dean of Students and Dean of Student Success and that he held such

position at times relevant to the Complaint. Defendants deny any remaining

allegations in this paragraph.

      45.    Defendants admit that defendant Sanseviro is Associate Vice

President and Dean of Students and Dean of Student Success, that defendant Lunk

holds the position of Assistant Dean of Students for Student Life, and that

reservation requests are generally handled by employees within the Department of

Student Life. Defendants deny any remaining allegations of this paragraph.

      46.    Defendants admit that defendant Michael Sanseviro is Associate Vice

President and Dean of Students and Dean of Student Success and has

responsibilities and duties consistent with such office. Defendants deny any

remaining allegations in this paragraph.

      47.    Defendants deny the allegations in this paragraph.

      48.    Defendants deny the allegations in this paragraph.

      49.    Defendants admit that defendant Lunk is Assistant Dean of Students

for Student Life at KSU and has held such position since approximately November

2015. Defendants deny any remaining allegations in this paragraph.

      50.    Defendants deny the allegations in this paragraph.


                                           11
       Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 12 of 53




      51.    Defendants deny the allegations in this paragraph.

      52.    Defendants admit that defendant Lunk is Assistant Dean of Students

for Student Life at KSU and has responsibilities and duties consistent with such

position. Defendants admit further that the Department of Student Life is

comprised of several departments, including the Department of Student Activities,

that defendant Harvill holds a position in the Department of Student Activities, and

that defendant Bonza previously held a position within the Department of Student

Activities. Defendants deny any remaining allegations in this paragraph.

      53.    Defendants admit that defendant Ed Bonza held the position of

Director of Student Activities at KSU until on or about March 30, 2018.

Defendants deny any remaining allegations in this paragraph.

      54.    Defendants admit that defendant Bonza previously held the position

of Director of Student Activities at KSU. Defendants deny the remaining

allegations in this paragraph.

      55.    Defendants admit that defendant Bonza previously held the position

of Director of Student Activities at KSU and, during his tenure, had responsibilities

and duties consistent with such position. Defendants deny the remaining

allegations in this paragraph.




                                         12
       Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 13 of 53




      56.   Defendants admit that defendant Andrew Harvill, Jr. is Associate

Director of Student Activities at KSU and held such position at times relevant to

this complaint.

      57.   Defendants deny the allegations in this paragraph.

      58.   Defendants deny the allegations in this paragraph.

      59.   Defendants deny the allegations in this paragraph.

      60.   Defendants admit that Jordyn Clark is Coordinator for Student

Organizations at KSU and held such position at times relevant to the complaint.

Defendants deny any remaining allegations in this paragraph.

      61.   Defendants deny the allegations in this paragraph.

      62.   Defendants admit that Tifaney Millwood is Coordinator of Student

Activities and held such position at times relevant to the complaint. Defendants

deny any remaining allegations in this paragraph.

      63.   Defendants deny the allegations in this paragraph.

      64.   Defendants deny the allegations in this paragraph.

      65.   Defendants deny the allegations in this paragraph.

      66.   Defendants admit that defendant Rachel Patti is an Event Specialist at

KSU and held such position at times relevant to the complaint. Defendants deny

any remaining allegations in this paragraph.


                                        13
       Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 14 of 53




      67.    Defendants admit that defendant Janice Malone is a Manager of

Student Center Operations at KSU, that she held such position at times relevant to

the complaint, and that, during such time, she handled some event reservation

requests. Defendants deny any remaining allegations in this paragraph.

      68.    Defendants deny the allegations in this paragraph.

      69.    Defendants deny the allegations in this paragraph.

      70.    Defendants deny the allegations in this paragraph.

      71.    Defendants deny the allegations in this paragraph.

      72.    Defendants deny the allegations in this paragraph.

      73.    The allegations in this paragraph purport to set forth the legal capacity

in which Plaintiffs bring their claims and, therefore, no response is required. To the

extent a response is required, Defendants deny the allegations.

      74.    The allegations in this paragraph purport to set forth the legal capacity

in which Plaintiffs bring their claims and, therefore, no response to required. To

the extent a response is required, Defendants deny the allegations.

      75.    The allegations in this paragraph purport to set forth the legal capacity

in which Plaintiffs bring their claims and, therefore, no response to required. To

the extent a response is required, Defendants deny the allegations.

                           FACTUAL BACKGROUND


                                         14
       Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 15 of 53




      76.    Defendants admit the allegations in this paragraph.

      77.    Defendants admit that KSU’s main campus has some publicly-

accessible buildings and outdoor areas, including streets, sidewalks, and grassy

areas. Defendants admit further that the documents attached as Exhibit 1 to

Plaintiffs’ complaint appear to be copies of maps of KSU’s main campus. The

remaining allegations in this paragraph constitute legal conclusions and/or opinions

to which no response is required. To the extent a response is required, Defendants

deny the remaining allegations in this paragraph and deny that they violated any of

Plaintiffs’ rights under the Constitution or laws of the United States.

      78.    Defendants admit that KSU’s Kennesaw campus is over 320 acres in

size and that the document attached as Exhibit 2 to Plaintiffs’ complaint appears to

be a copy of a Google Maps satellite image of KSU’s main campus. To the extent

the remaining allegations in this paragraph seek to characterize that document,

Defendants respond that the document speaks for itself. Defendants deny any

allegation that is inconsistent with the document and deny any remaining

allegations in this paragraph.

      79.    Defendants are without knowledge or information sufficient to form a

belief as to the truth of allegations in this paragraph and, therefore, deny the same.




                                          15
       Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 16 of 53




      80.    Defendants admit that some of the policies identified in this paragraph

pertain to expressive activities of students on campus. The remaining allegations in

this paragraph purport to describe the manner in which Plaintiffs present their

allegations in the Complaint and, therefore, do not require a response. To the

extent a response is required, Defendants deny the remaining allegations in this

paragraph.

      81.    The allegations in this paragraph amount to legal conclusions that do

not require a response. To the extent that a response is required, Defendants deny

the allegations.

      82.    Defendants admit that the document attached as Exhibit 3 to the

Complaint appears to be a copy of KSU’s “Registered Student Organization

Manual 2017-2018,” that such manual contains a section entitled “General RSO

Policies and Guidelines,” and that Section VI of the “General RSO Policies and

Guidelines” sets forth policies and procedures pertaining to the reservation of

space on campus. To the extent the remaining allegations in this paragraph

paraphrase or quote portions of that document, Defendants respond that the

document speaks for itself. Defendants deny any allegation that is inconsistent with

the written document and deny any remaining allegations in this paragraph.




                                        16
       Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 17 of 53




      83.   Defendants admit that individual KSU students who are not affiliated

with an RSO cannot reserve campus space for hosting events. Defendants deny any

remaining allegations in this paragraph.

      84.    Defendants admit that the document attached as Exhibit 4 to the

Complaint appears to be a copy of KSU’s “Event Request FAQ.” To the extent the

remaining allegations in this paragraph paraphrase or quote portions of that

document, Defendants respond that the document speaks for itself. Defendants

deny any allegation that is inconsistent with the written document and deny any

remaining allegations in this paragraph.

      85.    Defendants admit that at least 5 currently enrolled KSU students are

needed to create a new RSO. Defendants admit further that individual KSU

students who are not affiliated with an RSO cannot reserve campus space for

events. Defendants deny the remaining allegations in this paragraph.

      86.    Defendants admit that at least 5 currently enrolled KSU students are

needed to create a new RSO and that KSU’s Registered Student Organization

Manual 2017-2018 sets forth additional requirements for the formation of a new

RSO. Defendants admit further that individual KSU students who are not affiliated

with an RSO cannot reserve campus space for events. Defendants deny any

remaining allegations in this paragraph.


                                           17
       Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 18 of 53




      87.    Defendants admit the allegations in this paragraph.

      88.    Defendants admit that various deadlines apply to reservation requests

submitted via the Virtual Event Management System, or VEMS. Defendants deny

any remaining allegations in this paragraph.

      89.    Defendants admit that the document attached as Exhibit 4 to the

Complaint appears to be a copy of KSU’s “Event Request FAQ.” To the extent the

remaining allegations in this paragraph paraphrase or quote portions of that

document, Defendants respond that the document speaks for itself. Defendants

deny any allegation that is inconsistent with the written document and deny any

remaining allegations in this paragraph.

      90.    Defendants admit that the document attached as Exhibit 3 to the

Complaint appears to be a copy of KSU’s “Registered Student Organization

Manual 2017-2018.” To the extent the remaining allegations in this paragraph

paraphrase or quote portions of that document, Defendants respond that the

document speaks for itself. Defendants deny any allegation that is inconsistent with

the written document and deny any remaining allegations in this paragraph.

      91.    Defendants admit that a Frequently Asked Questions section of

KSU’s “Registered Student Organization Manual 2017-2018” indicates that it is

unlikely a large event can be held by an RSO with only one day’s notice and


                                           18
       Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 19 of 53




explains that “[m]ost events, unless they are simple meetings[,] require as much as

two weeks to be approved and have access and other details worked out” but that

“[s]imple meetings where the layout of the existing furniture in a space does not

need to be changes may be scheduled up to 5 business days prior to the meeting.”

Defendants deny any remaining allegations in this paragraph.

      92.    Defendants admit that the document attached as Exhibit 3 to the

Complaint appears to be a copy of KSU’s “Registered Student Organization

Manual 2017-2018.” To the extent the remaining allegations in this paragraph

paraphrase or quote portions of that document, Defendants respond that the

document speaks for itself. Defendants deny any allegation that is inconsistent with

the written document and deny any remaining allegations in this paragraph.

      93.    Defendants admit that the document attached as Exhibit 3 to the

Complaint appears to be a copy of KSU’s “Registered Student Organization

Manual 2017-2018.” To the extent the remaining allegations in this paragraph

paraphrase or quote portions of that document, Defendants respond that the

document speaks for itself. Defendants deny any allegation that is inconsistent with

the written document and deny any remaining allegations in this paragraph.

      94.    Defendants admit that the document attached as Exhibit 4 to the

Complaint appears to be a copy of a KSU “Event Request FAQ” and that it


                                        19
       Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 20 of 53




includes the statement that event space request for large events should be

submitted at least 30 days prior to the event. Defendants deny any remaining

allegation in this paragraph.

      95.     Defendants admit that the document attached as Exhibit 4 to the

Complaint appears to be a copy of a KSU “Event Request FAQ.” To the extent the

remaining allegations in this paragraph paraphrase or quote portions of that

document, Defendants respond that the document speaks for itself. Defendants

deny any allegation that is inconsistent with the written document and deny any

remaining allegations in this paragraph.

      96.     Defendants admit that the document attached as Exhibit 5 to the

Complaint appears to be a copy of a KSU Office of University Events’ “General

Information” page regarding reservations. To the extent the remaining allegations

in this paragraph paraphrase or quote portions of that document, Defendants

respond that the document speaks for itself. Defendants deny any allegation that is

inconsistent with the written document and deny any remaining allegations in this

paragraph.

      97.     The allegation in this paragraph contains legal conclusions that do not

require a response. To the extent a response is required, Defendants deny the

allegation.


                                           20
       Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 21 of 53




      98.    Defendants admit that there are areas on and around the Campus

Green of KSU’s Kennesaw Campus which may be reserved by RSOs for outdoor

expressive activities. The remaining allegations in this paragraph constitute

opinions and/or legal conclusions that do not require a response. To the extent a

response is required, Defendants deny the allegations.

      99.    Defendants admit that the Campus Green on KSU’s Kennesaw

Campus is adjacent to the Siegel Student Recreation & Activities Center and the

Carmichael Student Center. The remaining allegations in this paragraph constitute

opinions and/or legal conclusions that do not require a response. To the extent a

response is required, Defendants deny the allegations.

      100.   Defendants admit that the area around the Campus Green on KSU’s

Kennesaw Campus is divided into seven zones which RSOs may request to reserve

for expressive activities and that off-campus speakers may request to reserve only

Zone 3/4 for expressive activities. Defendants admit that the document attached as

Exhibit 6 to Plaintiffs’ complaint appears to be a copy of a Campus Green Map

depicting such zones. To the extent the remaining allegations in this paragraph

attempt to characterize portions of that document, Defendants respond that the

document speaks for itself. Defendants deny any allegation that is inconsistent with

the document and deny any remaining allegations in this paragraph.


                                        21
       Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 22 of 53




      101.   Defendants admit that Campus Green Zone 2 is described on the

Campus Green Map as “the grassy area between the Campus Green and the

Student Center” and that it includes a paved area. The remaining allegations in this

paragraph constitute opinions and/or legal conclusions that do not require a

response. To the extent a response is required, Defendants deny the allegations.

      102.   Defendants admit that Campus Green Zone 2 is located in the

proximity of entrances to the Carmichael Student Center and University stores and

that there are generally no permanent physical barriers between Zone 2 and the

adjoining sidewalks. To the extent the remaining allegations in this paragraph

constitute opinions and/or legal conclusions, they do not require a response and, to

the extent a response is required, the allegations are denied. To the extent the

remaining allegations in this paragraph purport to describe or characterize

photographs or pictures attached to Plaintiffs’ complaint, Defendants respond that

the documents speak for themselves. Defendants deny any remaining allegations in

this paragraph.

      103.   The allegations in this paragraph constitute opinions and/or legal

conclusions that do not require a response. To the extent a response is required,

Defendants deny the allegations.




                                        22
       Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 23 of 53




      104.   The allegations in this paragraph constitute opinions and/or legal

conclusions that do not require a response. To the extent a response is required,

Defendants deny the allegations.

      105.   Defendants admit that Campus Green Zones 3 and 4 are located on

the northern side of the Campus Green and are described on the Campus Green

Map as “the Grill Area near the Green” and “the area between the Grills and the

Burruss Building,” respectively. Defendants deny any remaining allegations in this

paragraph.

      106.   To the extent the allegations in this paragraph purport to describe or

characterize photographs or pictures attached to Plaintiffs’ complaint, Defendants

respond that the photographs or pictures speak for themselves. Defendants deny

any remaining allegations in this paragraph.

      107.   Defendants admit that Zone 3/4 is the only area that may be reserved

by off-campus speakers for expressive activities. Defendants admit, based on

information and belief, that Zone 3/4 has been referred to by some as a “free

speech” area. Defendants deny any remaining allegations in this paragraph.

      108.   Defendants admit that Campus Green Zone 3/4 comprises a small

portion of the KSU campus as a whole. Defendants are without knowledge or




                                        23
        Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 24 of 53




information sufficient to form a belief as to the truth of the remaining allegations in

this paragraph and, therefore, deny the same.

        109.   Defendants admit the allegations in this paragraph.

        110.   Defendants admit the allegations in this paragraph.

        111.   Defendants are without knowledge or information sufficient to form a

belief as to the truth of allegations in this paragraph and, therefore, deny the same.

        112.   Defendants are without knowledge or information sufficient to form a

belief as to the truth of allegations in this paragraph and, therefore, deny the same.

        113.   Defendants deny the allegations in this paragraph.

        114.   Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny the

same.

        115.   Defendants admit that circumstances exist under which a campus

space reservation request will not be confirmed for the particular zone requested by

the RSO. Defendants deny any remaining allegations in this paragraph.

        116.   The allegation in this paragraph amounts to a legal conclusion and

thus does not require a response. To the extent that a response is required,

Defendants deny the allegation.

        117. Defendants deny the allegations in this paragraph.


                                          24
       Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 25 of 53




      118. Defendants deny the allegations in this paragraph.

      119. Defendants deny the allegations in this paragraph.

      120. Defendants admit that the document attached as Exhibit 3 to the

Complaint appears to be a copy of KSU’s “Registered Student Organization

Manual 2017-2018.” To the extent the remaining allegations in this paragraph

paraphrase or quote portions of that document, Defendants respond that the

document speaks for itself. Defendants deny any allegation that is inconsistent with

the written document and deny any remaining allegations in this paragraph.

      121.   Defendants admit that the document attached as Exhibit 3 to the

Complaint appears to be a copy of KSU’s “Registered Student Organization

Manual 2017-2018” and the document attached as Exhibit 4 to the Complaint

appears to be a copy of a KSU “Event Request FAQ.” To the extent the remaining

allegations in this paragraph paraphrase or quote portions of those documents,

Defendants respond that the documents speak for themselves. Defendants deny any

allegation that is inconsistent with the written documents and deny any remaining

allegations in this paragraph.

      122.   Defendants admit that the document attached as Exhibit 4 to the

Complaint appears to be a copy of a KSU “Event Request FAQ.” To the extent the

remaining allegations in this paragraph paraphrase or quote portions of that


                                        25
       Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 26 of 53




document, Defendants respond that the document speaks for itself. Defendants

deny any allegation that is inconsistent with the written document and deny any

remaining allegations in this paragraph.

      123.   The allegation in this paragraph amounts to a legal conclusion and

thus does not require a response. To the extent that a response is required,

Defendants deny the allegation.

      124.   Defendants admit that RSOs which submit an event space reservation

request through the KSU reservation portal will generally not receive a

confirmation email until the request is processed and confirmed by a KSU

employee. Defendants deny any remaining allegations in this paragraph.

      125.   The allegation in this paragraph amounts to a legal conclusion and

thus does not require a response. To the extent that a response is required,

Defendants deny the allegation.

      126.   Defendants admit that KSU guidelines do not contain one deadline by

which school officials must approve or deny an event space request. Defendants

respond further that KSU guidelines on the amount of time an entity requesting to

reserve event space should permit for processing of its event space request.

Defendants deny any remaining allegations in this paragraph.




                                           26
       Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 27 of 53




      127.   Defendants admit that the document attached as Exhibit 3 to the

Complaint appears to be a copy of KSU’s “Registered Student Organization

Manual 2017-2018.” To the extent the remaining allegations in this paragraph

paraphrase or quote portions of that document, Defendants respond that the

document speaks for itself. Defendants deny any allegation that is inconsistent with

the written document and deny any remaining allegations in this paragraph.

      128.   Defendants admit that the document attached as Exhibit 5 to the

Complaint appears to be a copy of an Office of University Events’ “General

Information” page regarding reservations. To the extent the remaining allegations

in this paragraph paraphrase or quote portions of that document, Defendants

respond that the document speaks for itself. Defendants deny any allegation that is

inconsistent with the written document and deny any remaining allegations in this

paragraph.

      129.   Defendants admit that the language quoted in paragraphs 127 and 128

of the Complaint does not contain a deadline by which KSU officials must respond

to an event space reservation request. To the extent Plaintiffs’ reference in this

paragraph to “these policies” is not limited to those referenced in paragraphs 127

and 128 of the complaint, Defendants lack sufficient information to admit or deny

the allegation and, therefore, deny the same.


                                         27
       Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 28 of 53




      130.   Defendants admit that an RSO may be charged for certain security

costs actually incurred at an event sponsored or held by the RSO at KSU.

Defendants deny any remaining allegations in this paragraph.

      131.   Defendants admit that the document attached as Exhibit 3 to the

Complaint appears to be a copy of KSU’s “Registered Student Organization

Manual 2017-2018.” To the extent the remaining allegations in this paragraph

paraphrase or quote portions of that document, Defendants respond that the

document speaks for itself. Defendants deny any allegation that is inconsistent with

the written document and deny any remaining allegations in this paragraph.

      132.   The allegation in this paragraph amounts to a legal conclusion and

thus does not require a response. To the extent that a response is required,

Defendants deny the allegation.

      133.   The allegation in this paragraph amounts to a legal conclusion and

thus does not require a response. To the extent that a response is required,

Defendants deny the allegation.

      134.   Defendants admit that the document attached as Exhibit 3 to the

Complaint appears to be a copy of KSU’s “Registered Student Organization

Manual 2017-2018.” To the extent the remaining allegations in this paragraph

paraphrase or quote portions of that document, Defendants respond that the


                                        28
       Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 29 of 53




document speaks for itself. Defendants deny any allegation that is inconsistent with

the written document and deny any remaining allegations in this paragraph.

      135.   The allegation in this paragraph amounts to a legal conclusion and

thus does not require a response. To the extent that a response is required,

Defendants deny the allegation.

      136.   Defendants admit that RSOs and individuals who are found to have

violated KSU policies may be subject to sanctions. Defendants deny any remaining

allegations in this paragraph.

      137.   Defendants admit that the document attached as Exhibit 3 to the

Complaint appears to be a copy of KSU’s “Registered Student Organization

Manual 2017-2018.” To the extent the remaining allegations in this paragraph

paraphrase or quote portions of that document, Defendants respond that the

document speaks for itself. Defendants deny any allegation that is inconsistent with

the written document and deny any remaining allegations in this paragraph.

      138.   Defendants admit that the document attached as Exhibit 3 to the

Complaint appears to be a copy of KSU’s “Registered Student Organization

Manual 2017-2018.” To the extent the remaining allegations in this paragraph

paraphrase or quote portions of that document, Defendants respond that the




                                        29
       Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 30 of 53




document speaks for itself. Defendants deny any allegation that is inconsistent with

the written document and deny any remaining allegations in this paragraph.

      139.   Defendants admit that the document attached as Exhibit 3 to the

Complaint appears to be a copy of KSU’s “Registered Student Organization

Manual 2017-2018.” To the extent the remaining allegations in this paragraph

paraphrase or quote portions of that document, Defendants respond that the

document speaks for itself. Defendants deny any allegation that is inconsistent with

the written document and deny any remaining allegations in this paragraph.

      140.   Defendants admit that Exhibit 10 to the Complaint appears to be a

copy of a letter from Rory Gray of the Alliance Defending Freedom, dated June 3,

2013, and addressed to Dr. Daniel S. Papp and Dr. Flora B. Devine in KSU’s

Office of Legal Affairs. To the extent the remaining allegations in this paragraph

paraphrase or quote portions of that document, Defendants respond that the

document speaks for itself. Defendants deny any allegation that is inconsistent with

the written document and deny any remaining allegations in this paragraph.

      141.   Defendants admit that Exhibit 10 to the Complaint appears to be a

copy of a letter from Rory Gray of the Alliance Defending Freedom, dated June 3,

2013, and addressed to Dr. Daniel S. Papp and Dr. Flora B. Devine in KSU’s

Office of Legal Affairs. To the extent the remaining allegations in this paragraph


                                        30
       Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 31 of 53




paraphrase or quote portions of that document, Defendants respond that the

document speaks for itself. Defendants deny any allegation that is inconsistent with

the written document and deny any remaining allegations in this paragraph.

      142. Defendants admit that Exhibit 10 to the Complaint appears to be a

copy of a letter from Rory Gray of the Alliance Defending Freedom, dated June 3,

2013, and addressed to Dr. Daniel S. Papp and Dr. Flora B. Devine of KSU’s

Office of Legal Affairs. To the extent the remaining allegations in this paragraph

paraphrase or quote portions of that document, Defendants respond that the

document speaks for itself. Defendants deny any allegation that is inconsistent with

the written document and deny any remaining allegations in this paragraph.

      143.   Defendants admit that Exhibit 11 to the Complaint appears to be a

copy of a letter from Flora B. Devine of KSU’s Division of Legal Affairs to Rory

Gray of the Alliance Defending Freedom, dated June 25, 2013. To the extent the

remaining allegations in this paragraph paraphrase or quote portions of that

document, Defendants respond that the document speaks for itself. Defendants

deny any allegation that is inconsistent with the written document and deny any

remaining allegations in this paragraph.

      144. Defendants admit that Exhibit 12 to the Complaint appears to be a

copy of a letter from J. Matthew Sharp of the Alliance Defending Freedom, dated


                                           31
        Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 32 of 53




June 18, 2014, and addressed to “Kimberly Ballard-Washington, Assistant Vice

Chancellor for Legal Affairs, University System of Georgia.” To the extent the

remaining allegations in this paragraph paraphrase or quote portions of that

document, Defendants respond that the document speaks for itself. Defendants

deny any allegation that is inconsistent with the written document and deny any

remaining allegations in this paragraph.

        145. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny the

same.

        146. Defendants deny the allegations in this paragraph.

        147. Defendants deny the allegations in this paragraph.

        148. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny the

same.

        149. Defendants admit that Exhibit 13 to the Complaint appears to be a

copy of an event reservation request summary concerning a reservation request

submitted by an individual on behalf of Ratio Christi on or about October 20,

2015. To the extent the remaining allegations in this paragraph paraphrase or quote

portions of that document, Defendants respond that the document speaks for itself.


                                           32
        Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 33 of 53




Defendants deny any allegation that is inconsistent with the written document and

deny any remaining allegations in this paragraph.

        150. Defendants admit that documents attached to Plaintiffs’ Complaint

appear to indicate that Ratio Christi reserved an area on KSU’s campus for an

event to be held on October 27, 2015. Defendants are without knowledge or

information sufficient to form a belief as to the truth of any remaining allegations

in this paragraph and, therefore, deny the same.

        151. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny the

same.

        152. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny the

same.

        153. Defendants deny the allegations in this paragraph.

        154. Defendants admit that Exhibit 14 to the Complaint appears to be a

copy of an event reservation request summary concerning a reservation request

submitted by an individual on behalf of Ratio Christi on or about February 3, 2016.

To the extent the remaining allegations in this paragraph paraphrase or quote

portions of that document, Defendants respond that the document speaks for itself.


                                         33
       Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 34 of 53




Defendants deny any allegation that is inconsistent with the written document and

deny any remaining allegations in this paragraph.

      155. Defendants admit that Exhibit 14 to the Complaint appears to be a

copy of an event reservation request summary concerning a reservation request

submitted by an individual on behalf of Ratio Christi on or about February 3, 2016.

To the extent the allegations in this paragraph paraphrase or quote portions of that

document, Defendants respond that the document speaks for itself. Defendants

deny any allegation that is inconsistent with the written document. To the extent

the allegations in this paragraph concern Ratio Christi’s subjective intentions,

Defendants are without knowledge or information sufficient to form a belief as to

the truth of such allegations and, therefore, deny the same. Defendants deny any

remaining allegations in this paragraph.

      156. Defendants admit that Exhibit 14 to the Complaint appears to be a

copy of an event reservation request summary concerning a reservation request

submitted by an individual on behalf of Ratio Christi on or about February 3, 2016.

To the extent the allegations in this paragraph paraphrase or quote portions of that

document, Defendants respond that the document speaks for itself. Defendants

deny any allegation that is inconsistent with the written document. To the extent

the allegations in this paragraph concern Ratio Christi’s subjective intentions or


                                           34
       Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 35 of 53




desires, Defendants are without knowledge or information sufficient to form a

belief as to the truth of such allegations and, therefore, deny the same. Defendants

deny any remaining allegations in this paragraph.

      157.    The allegations in this paragraph concern Ratio Christi’s subjective

intentions or desires, and Defendants are without knowledge or information

sufficient to form a belief as to the truth of such allegations and, therefore, deny the

same. Defendants deny any remaining allegations in this paragraph.

      158.    The allegations in this paragraph concern Ratio Christi’s subjective

intentions or desires, and Defendants are without knowledge or information

sufficient to form a belief as to the truth of such allegations and, therefore, deny the

same. Defendants deny any remaining allegations in this paragraph.

      159.    The allegations in this paragraph concern Ratio Christi’s subjective

intentions or desires, and Defendants are without knowledge or information

sufficient to form a belief as to the truth of such allegations and, therefore, deny the

same. Defendants deny any remaining allegations in this paragraph.

      160.    The allegations in this paragraph concern Ratio Christi’s subjective

intentions or desires, and Defendants are without knowledge or information

sufficient to form a belief as to the truth of such allegations and, therefore, deny the

same. Defendants deny any remaining allegations in this paragraph.


                                          35
        Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 36 of 53




        161.   Defendants admit that some RSOs reserve Campus Green Zone 2 for

expressive activities, which may or may not include signs, tents, tables, banners,

and inflatables. Defendants deny any remaining allegations in this paragraph.

        162.   Defendants admit that defendant Malone asked Ratio Christi to meet

with her regarding a space reservation request. Defendants respond further that this

is not uncommon following an RSO space reservation request submission and is

generally meant to help ensure that the RSO’s needs for the proposed event will be

accommodated. Defendants deny any remaining allegations in this paragraph.

        163.   Defendants deny the allegations in this paragraph.

        164.   Defendants deny the allegations in this paragraph.

        165.   Defendants deny the allegations in this paragraph.

        166.   Defendants admit, based on information and belief, that Ratio Christi

held an event in Campus Green Zones 3 and/or 4 in or around February 2016.

Defendants are without knowledge or information sufficient to form a belief as to

the truth of the remaining allegations in this paragraph and, therefore, deny the

same.

        167.   Defendants admit that Exhibit 15 to the Complaint appears to be a

copy of an event reservation confirmation for an event to be held on February 22,

2016, by Ratio Christi in Campus Green Zone 4. To the extent the remaining


                                          36
        Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 37 of 53




allegations in this paragraph paraphrase or quote portions of that document,

Defendants respond that the document speaks for itself. Defendants deny any

allegation that is inconsistent with the written document and deny any remaining

allegations in this paragraph.

        168.   Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny the

same.

        169.   Defendants admit that Exhibit 16 to the Complaint appears to be a

copy of an event reservation request summary concerning a reservation request

submitted by an individual on behalf of Ratio Christi on or about September 15,

2017. To the extent the remaining allegations in this paragraph paraphrase or quote

portions of that document, Defendants respond that the document speaks for itself.

Defendants deny any allegation that is inconsistent with the written document and

deny any remaining allegations in this paragraph.

        170.   Defendants admit that Exhibit 16 to the Complaint appears to be a

copy of an event reservation request summary concerning a reservation request

submitted by an individual on behalf of Ratio Christi on or about September 15,

2017. To the extent the remaining allegations in this paragraph paraphrase or quote

portions of that document, Defendants respond that the document speaks for itself.


                                         37
       Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 38 of 53




Defendants deny any allegation that is inconsistent with the written document. To

the extent the allegations concern Ratio Christi’s subjective intentions or desires,

Defendants are without knowledge or information sufficient to form a belief as to

the truth of such allegations and, therefore, deny the same. Defendants deny any

remaining allegations in this paragraph.

      171.   Defendants admit that Exhibit 16 to the Complaint appears to be a

copy of an event reservation request summary concerning a reservation request

submitted by an individual on behalf of Ratio Christi on or about September 15,

2017. To the extent the allegations in this paragraph paraphrase or quote portions

of that document, Defendants respond that the document speaks for itself.

Defendants deny any allegation that is inconsistent with the written document. To

the extent the allegations concern Ratio Christi’s subjective intentions or desires,

Defendants are without knowledge or information sufficient to form a belief as to

the truth of such allegations and, therefore, deny the same. Defendants deny any

remaining allegations in this paragraph.

      172.   The allegations in this paragraph concern Ratio Christi’s subjective

intentions, desires, or purpose, and Defendants are without knowledge or

information sufficient to form a belief as to the truth of such allegations and,




                                           38
       Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 39 of 53




therefore, deny the same. Defendants deny any remaining allegations in this

paragraph.

      173.   The allegations in this paragraph concern Ratio Christi’s subjective

intentions, knowledge, or purpose, and Defendants are without knowledge or

information sufficient to form a belief as to the truth of such allegations and,

therefore, deny the same. Defendants deny any remaining allegations in this

paragraph.

      174.   Defendants admit that Exhibit 17 to the Complaint appears to be a

copy of an email exchange between Jonathan Mann of Ratio Christi and Rachel

Patti. To the extent the allegations in this paragraph paraphrase or quote portions of

that document, Defendants respond that the document speaks for itself. Defendants

deny any allegation that is inconsistent with the written document. To the extent

the allegations concern Ratio Christi’s subjective intentions purpose, Defendants

are without knowledge or information sufficient to form a belief as to the truth of

such allegations and, therefore, deny the same. Defendants deny any remaining

allegations in this paragraph.

      175.   Defendants admit that Exhibit 17 to the Complaint appears to be a

copy of an email exchange between Jonathan Mann of Ratio Christi and Rachel

Patti on or about October 10, 2017, in which it is indicated that the location of


                                         39
      Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 40 of 53




Ratio Christi’s event was changed to Zones 3/4. To the extent the allegations in

this paragraph paraphrase or quote portions of that document, Defendants respond

that the document speaks for itself. Defendants deny any allegation that is

inconsistent with the written document and deny any remaining allegations in this

paragraph.

      176.   Defendants admit that Exhibit 17 to the Complaint appears to be a

copy of an email exchange between Jonathan Mann of Ratio Christi and Rachel

Patti on or about October 10, 2017, in which it is indicated that the location of

Ratio Christi’s event was changed to Zones 3/4. To the extent the allegations in

this paragraph paraphrase or quote portions of that document, Defendants respond

that the document speaks for itself. Defendants deny any allegation that is

inconsistent with the written document and deny any remaining allegations in this

paragraph.

      177.   Defendants admit that Exhibit 17 to the Complaint appears to be a

copy of an email exchange between Jonathan Mann of Ratio Christi and Rachel

Patti on or about October 10, 2017, in which it is indicated that the location of

Ratio Christi’s event was changed to Zones 3/4. To the extent the allegations in

this paragraph paraphrase or quote portions of that document, Defendants respond

that the document speaks for itself. Defendants deny any allegation that is


                                       40
        Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 41 of 53




inconsistent with the written document and deny any remaining allegations in this

paragraph.

        178.   Defendants admit that defendant Patti met with Zachary Bohannon of

Ratio Christi on or shortly after October 10, 2017. Defendants deny any remaining

allegations in this paragraph.

        179.   Defendants admit that, when meeting with Mr. Bohannon, defendant

Patti expressed her belief that Campus Green Zone 3/4 is considered a zone for

student speech. Defendants deny the remaining allegations in this paragraph.

        180. Defendants deny the allegations in this paragraph.

        181. Defendants deny the allegations in this paragraph.

        182. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny the

same.

        183.   Defendants are without knowledge or information sufficient to form a

belief as to the truth of allegations concerning what members of Ratio Christi

observed and, therefore, deny the same. Defendants deny any remaining

allegations in this paragraph.

        184. Defendants deny the allegations in this paragraph.

        185. Defendants deny the allegations in this paragraph.


                                         41
        Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 42 of 53




        186. Defendants admit, based on information and belief, the allegation in

this paragraph.

        187. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny the

same.

        188. To the extent the allegations in this paragraph concern Ratio Christi’s

subjective intentions or desires, Defendants are without knowledge or information

sufficient to form a belief as to the truth of such allegations and, therefore, deny the

same. Defendants deny the remaining allegations in this paragraph.

        189. Defendants deny the allegations in this paragraph.

        190. Defendants deny the allegations in this paragraph.

        191. Defendants deny the allegations in this paragraph.

        192. Defendants deny the allegations in this paragraph.

        193. Defendants admit that, in order to reserve space on campus for a

meeting or campus event, RSOs must submit a campus event reservation request

via KSU’s on-line reservation system, or VEMS. Defendants deny that KSU policy

prohibits enrolled students or RSOs from speaking spontaneously on campus,

including areas which are not part of any Campus Green zone, in reaction to news.

Defendants deny any remaining allegations in this paragraph.


                                          42
        Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 43 of 53




        194. Defendants deny the allegations in this paragraph.

        195. Defendants deny the allegations in this paragraph.

        196. Defendants deny the allegations in this paragraph.

        197. Defendants deny the allegations in this paragraph.

        198. Defendants admit, based on information and belief, that the Kennesaw

Pride Alliance reserved all zones of the Campus Green for an event held in or

around October 2017. Defendants deny any remaining allegations in this

paragraph.

        199. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny the

same.

        200. Defendants admit, based on information and belief, that the Kennesaw

Pride Alliance reserved all zones of the Campus Green for an event held in or

around October 2017. Defendants deny any remaining allegations in this

paragraph.

        201. Defendants deny the allegations in this paragraph.

        202. Defendants deny the allegations in this paragraph.




                                         43
        Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 44 of 53




        203. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny the

same.

        204. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny the

same.

        205. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny the

same.

        206. Defendants admit that individual KSU students who are not affiliated

with an RSO cannot reserve campus space for meetings and events via the campus

reservation system, VEMS. Defendants deny any remaining allegations in this

paragraph.

        207. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny the

same.

        208. Defendants admit that individual KSU students who are not affiliated

with an RSO cannot reserve campus space for meetings and events via the campus




                                        44
       Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 45 of 53




reservation system, VEMS. Defendants deny any remaining allegations in this

paragraph.

      209. Defendants admit that at least 5 currently enrolled KSU students are

needed to create a new RSO and that KSU’s Registered Student Organization

Manual 2017-2018 sets forth additional requirements for the formation of a new

RSO. Defendants admit further that individual KSU students who are not affiliated

with an RSO cannot reserve campus space for meetings and events via the campus

reservation system, VEMS. Defendants deny any remaining allegations in this

paragraph.

      210. Defendants admit that individual KSU students who are not affiliated

with an RSO cannot reserve campus space for meetings and events via the campus

reservation system, VEMS. Defendants deny that KSU’s policies prevent an

individual student or group of students from promptly sharing views about

breaking news with other students on campus and deny any remaining allegations

in this paragraph.

      211. Defendants admit that individual KSU students who are not affiliated

with an RSO cannot reserve campus space for meetings and events via the campus

reservation system, VEMS. Defendants deny that KSU policy prevents students




                                       45
        Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 46 of 53




from speaking spontaneously in reaction to breaking events and deny any

remaining allegations in this paragraph.

        212. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny the

same.

        213. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny the

same.

                             STATEMENTS OF LAW

        214. Defendants deny the allegations in this paragraph.

        215. Defendants deny the allegations in this paragraph.

        216. Defendants deny the allegations in this paragraph.

        217. Defendants deny the allegations in this paragraph.

        218. Defendants deny the allegations in this paragraph.

        219. Defendants deny the allegations in this paragraph.

        220. Defendants deny the allegations in this paragraph.

        221. Defendants deny the allegations in this paragraph.

        222. Defendants deny the allegations in this paragraph.

        223. Defendants deny the allegations in this paragraph.


                                           46
Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 47 of 53




                    FIRST CAUSE OF ACTION

224. Defendants deny the allegations in this paragraph.

225. Defendants deny the allegations in this paragraph.

226. Defendants deny the allegations in this paragraph.

227. Defendants deny the allegations in this paragraph.

228. Defendants deny the allegations in this paragraph.

229. Defendants deny the allegations in this paragraph.

230. Defendants deny the allegations in this paragraph.

231. Defendants deny the allegations in this paragraph.

232. Defendants deny the allegations in this paragraph.

233. Defendants deny the allegations in this paragraph.

234. Defendants deny the allegations in this paragraph.

235. Defendants deny the allegations in this paragraph.

236. Defendants deny the allegations in this paragraph.

237. Defendants deny the allegations in this paragraph.

238. Defendants deny the allegations in this paragraph.

239. Defendants deny the allegations in this paragraph.

240. Defendants deny the allegations in this paragraph.

241. Defendants deny the allegations in this paragraph.


                                 47
Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 48 of 53




242. Defendants deny the allegations in this paragraph.

243. Defendants deny the allegations in this paragraph.

244. Defendants deny the allegations in this paragraph.

245. Defendants deny the allegations in this paragraph.

246. Defendants deny the allegations in this paragraph.

247. Defendants deny the allegations in this paragraph.

248. Defendants deny the allegations in this paragraph.

249. Defendants deny the allegations in this paragraph.

250. Defendants deny the allegations in this paragraph.

251. Defendants deny the allegations in this paragraph.

252. Defendants deny the allegations in this paragraph.

253. Defendants deny the allegations in this paragraph.

254. Defendants deny the allegations in this paragraph.

255. Defendants deny the allegations in this paragraph.

256. Defendants deny the allegations in this paragraph.

257. Defendants deny the allegations in this paragraph.

258. Defendants deny the allegations in this paragraph.




                                 48
Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 49 of 53




                  SECOND CAUSE OF ACTION

259. Defendants deny the allegations in this paragraph.

260. Defendants deny the allegations in this paragraph.

261. Defendants deny the allegations in this paragraph.

262. Defendants deny the allegations in this paragraph.

263. Defendants deny the allegations in this paragraph.

264. Defendants deny the allegations in this paragraph.

265. Defendants deny the allegations in this paragraph.

266. Defendants deny the allegations in this paragraph.

267. Defendants deny the allegations in this paragraph.

268. Defendants deny the allegations in this paragraph.

269. Defendants deny the allegations in this paragraph.

270. Defendants deny the allegations in this paragraph.

271. Defendants deny the allegations in this paragraph.

272. Defendants deny the allegations in this paragraph.

273. Defendants deny the allegations in this paragraph.

274. Defendants deny the allegations in this paragraph.

275. Defendants deny the allegations in this paragraph.

276. Defendants deny the allegations in this paragraph.


                                 49
Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 50 of 53




277. Defendants deny the allegations in this paragraph.

278. Defendants deny the allegations in this paragraph.

279. Defendants deny the allegations in this paragraph.

280. Defendants deny the allegations in this paragraph.

281. Defendants deny the allegations in this paragraph.

282. Defendants deny the allegations in this paragraph.

283. Defendants deny the allegations in this paragraph.

284. Defendants deny the allegations in this paragraph.

285. Defendants deny the allegations in this paragraph.

286. Defendants deny the allegations in this paragraph.

287. Defendants deny the allegations in this paragraph.

288. Defendants deny the allegations in this paragraph.

289. Defendants deny the allegations in this paragraph.

290. Defendants deny the allegations in this paragraph.

291. Defendants deny the allegations in this paragraph.

292. Defendants deny the allegations in this paragraph.

293. Defendants deny the allegations in this paragraph.

294. Defendants deny the allegations in this paragraph.

295. Defendants deny the allegations in this paragraph.


                                 50
       Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 51 of 53




      296. Defendants deny the allegations in this paragraph.

      297. Defendants deny the allegations in this paragraph.

      298. Defendants deny the allegations in this paragraph.

      299. Defendants deny the allegations in this paragraph.

                                GENERAL DENIAL

      To the extent that any allegation of the Complaint has not been specifically

admitted, denied, or otherwise controverted herein, Defendants deny the allegation.

      WHEREFORE, having answered fully, Defendants request a jury trial on all

issues so triable, that judgment be entered in their favor and against Plaintiffs on all

claims, that Plaintiffs take nothing from Defendants, and that Defendants be

awarded and Plaintiffs be assessed all costs of this action, and that the Court enter

such other relief as it deems just and proper.

                                        Respectfully submitted,

                                        Christopher M. Carr               112505
                                        Attorney General

                                        Kathleen M. Pacious               558555
                                        Deputy Attorney General

                                        s/ Roger A. Chalmers
                                        Roger A. Chalmers             118720
                                        Senior Assistant Attorney General




                                          51
     Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 52 of 53




                                 Deborah Nolan Gore           437340
                                 Assistant Attorney General
PLEASE ADDRESS ALL
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Email: dgore@law.ga.gov




                                   52
          Case 1:18-cv-00745-MLB Document 20 Filed 09/19/18 Page 53 of 53




                          CERTIFICATE OF SERVICE

      I hereby certify that on this date I electronically filed the foregoing pleading,

ANSWER AND DEFENSES, with the Clerk of Court using the CM/ECF system,

which will automatically send email notification of such filing to all counsel of

record.

      This 19th day of September, 2018.

                                              s/ Roger A. Chalmers




                                         53
